

ORDER

PER CURIAM:
AND NOW, this 11th day of August, 1994, upon consideration of the Report and Recommendations of the Disciplinary Board dated February 7, 1994, it is hereby
ORDERED that Kevin J. Rankin be and he is disbarred from the Bar of this Commonwealth, retroactive to March 6,1987, and he shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
MONTEMURO, J.,
is sitting by designation as Senior Justice pursuant to Judicial Assignment Docket No. 94 R1801, due to the unavailability of ROLF LARSEN, J., see No. 127 Judicial Administration Docket No. 1, filed October 28, 1993.
